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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2021, the PLAINTIFF’S MOTION FOR

ENTRY OF A PRELIMINARY INJUNCTION and MEMORANDUM OF LAW IN SUPPORT

OF PLAINTIFF’S MOTION FOR ENTRY OF A PRELIMINARY INJUNCTION was filed

with the CM/ECF system. The Defendants will also be provided notice via e-mail to the

Defendants as identified in the Return of Summons filed with the Court along with the

PROPOSED ORDER sent to the Court regarding Plaintiff’s Motion.



                                                   By:          /s/ Kevin J. Keener
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